                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )        No. 3:10-00065
                                                 )        JUDGE CAMPBELL
QUINCY MAURICE FUQUA, et al.                     )


                                          ORDER

       Pending before the Court are Defendant Owens’ Motion To Sever Defendants (Docket

No. 204) and Motion In Limine (Docket No. 205). The Court will consider the Motions at the

Pretrial Conference set for November 28, 2012.

       It is so ORDERED.



                                                     _________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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